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                            Yolo Budget Narrative

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                            Yolo County Probation Department
                            Budget Narrative for 24 Secure Beds
                            February 1, 2019 – January 31, 2020
This budget narrative explains the cost of maintaining 24 Secure ORR beds at the Yolo County
Juvenile Detention Facility for the period of February 1, 2019 through January 31, 2020.

I. PERSONNEL
   Staff
   A. Administration and Program Support – Total of
      1. Superintendent of the Juvenile Detention Facility (          ) – The Superintendent of
         the Juvenile Detention Facility is responsible for policy, operational and
         administrative functions concerning the facility. The incumbent in this position is
         responsible for implementing and maintaining standards related to state and federal
         regulations and is responsible for administering transports of UC in Yolo County’s
         care. The cost of this position represents 34% of the current full-time cost. The
         current incumbent in this position is Oscar Ruiz.
      2. Yolo Secure Program Director/ Probation Division Manager (                ) – The ORR
         Program Director is responsible for all administrative aspects of the ORR secure
         placement program, facility programs, and oversight of case management and clinical
         services. The incumbent will monitor team member’s performance and ensure ORR
         case management and clinical expectations and standards are met. This cost
         represents 75% of the full-time cost. The current incumbent in this position is Julie
         Burns, LCSW.
      3. Probation Division Manager, Facility Operations and Transportation (                 ) –
         The Probation Division Manager assigned to facility operations is responsible for
         direct oversight of operational functions within the facility, as well as oversees the
         transportation division. The incumbent in this position assists the Superintendent of
         the Juvenile Detention Facility to ensure standards related to state and federal
         regulations are met. This position also directly oversees the staff who provide
         transports of UC in Yolo County’s care. The cost of this position represents 33% of
         the current full-time cost. The current incumbent in this position is Alejandro
         Martinez.
      4. Administrative Assistant (         0) – The Administrative Assistant is responsible for
         providing and overseeing the provision of clerical support for Juvenile Detention
         Facility operations and for supporting the JDF Superintendent and ORR Program
         Director. This position will focus on administrative/clerical duties and technical
         support services to the grant program, including fulfilling grant reporting
         requirements, medical services coordination and transport services coordination. The
         cost of this position represents 50% of the full-time cost.
      5. Secretary II (            – The Secretary II provides clerical support for Juvenile
         Detention Facility operations. This position facilitates front desk activity, processing
         UC professional and personal visitors, funds UC phone accounts and troubleshoots
         issues, and processes paperwork and records from the day-to-day operations
         concerning UC. The cost of this position represents 50% of the full-time cost and
         includes bilingual compensation.
      6. Program Coordinator/ Social Worker (                ) – The Program Coordinator is
         responsible for coordinating and administering recreational, socialization, and
         therapeutic programs and activities offered to the UC as well as coordinating over 100
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        volunteers who support the YCJDF. The cost of this position represents 50% of the
        full-time cost and includes bilingual compensation.
     7. PREA Standards & Compliance Training Officer/ Sr. Detention Officer (                –
        The incumbent in the position will monitor complaints, prepare and file compliance
        reports, coordinate PREA training for staff and volunteers, and is responsible for
        ensuring PREA standards are met in the facility at all times. Additionally, this staff is
        tasked with coordinating and/or providing initial and ongoing training to all detention
        officers, to ensure proper orientation and ongoing competency in duties related to the
        detention officer position. The amount budgeted for this position represents 85% of
        the full-time cost.

  B. Direct Care Case Management Staff – Total of $
     1. Lead Case Manager/ Senior Detention Officer (1.0 FTE) ($                – The Lead Case
        Manager is responsible for providing oversight for and carrying out case management
        duties with UC. The Lead Case Manager provides a higher level of program support
        and oversight of case management operations, acting as liaison between the Yolo
        ORR program and detention and educational services. This position may carry a small
        caseload at times, but primary duties include direct oversight of case management
        services and the work of other case managers, and monitoring the provision of
        individualized, appropriate services for each UC in care. This position will be trained
        to assist with transports of UC as well. This is one (1) dedicated full-time, sworn
        position fully charged to ORR that includes bilingual compensation.
     2. Case Manager/ Social Worker (4.5 FTE) ($                  ) – The Case Managers are
        responsible for carrying out case management duties with UC under the general
        direction of the Lead Case Manager. In addition to work with sponsors, Case
        Managers provide UC with frequent support in settings and situations including the
        classroom, transportation accompaniment, and facility support during crisis incidents.
        This item includes one FTE Administrative Case Manager, who will continue to
        process SIRs, conduct chart audits, complete file requests, and monitor compliance
        with programmatic administrative tasks. One part-time Case Manager (0.5 FTE) will
        provide staff relief, facilitate video calls for youth with their families and sponsors,
        and will assist with processing SIRs and with facility activities as needed. These are
        4.5 dedicated full-time positions fully charged to ORR, some of which include
        bilingual compensation.

  C. Direct Care Clinical Staff – Total of
     1. Lead Clinician/ Supervising Clinician (1.0 FTE) (               – The Lead Clinician is
         responsible for providing oversight for and the coordination of quality therapeutic
         services for UC. The Lead Clinician trains and provides clinical supervision for
         Clinicians, pursuant to California Board of Behavioral Sciences licensing
         requirements. This staff provides a high level of program support and comprehensive
         review of clinical services, treatment plans, and clinical documentation. The Lead
         Clinician will work with the Lead Case Manager to review all referrals to and from
         Yolo Secure. The incumbent in this position provides significant support to the
         Program Director.
     2. Clinician (5.0 FTE) (             – Clinicians are responsible for delivering therapeutic
         services through group and individual counseling, conducting initial and ongoing
         mental health and risk assessments, and coordinating and/or providing additional

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        treatment services. Clinicians will facilitate Interactive Journaling, and group
        counseling for substance use disorder treatment, anger management, and social skills
        development. Four clinicians will operate at a 1:6 ratio to provide comprehensive
        assessment, increased individualized treatment planning, facilitating family services
        through phone and video conferencing, and providing direct therapeutic services.
        One (1) clinician will be tasked with providing group treatment and will primarily
        work in the UC living units to provide ongoing de-escalation of youth and crisis
        prevention. These are five (5) dedicated full-time positions fully charged to ORR,
        with cost including bilingual compensation.

 D. Facility Supervision & Security Staff (Sup DO, DO, JSA, EH, OT) – Total of
    1. Supervising Detention Officers (2.5 FTE) –
       Supervising Detention Officers are responsible for supervising each shift in the
       Juvenile Detention Facility. Their responsibility includes supervising the Detention
       Officers assigned to monitor and supervise UC, and the Juvenile Services Aide(s)
       responsible for operating the facility’s central control. There are four full-time
       Supervising Detention Officers, and one newly added Administrative Supervising
       Detention Officer. The Administrative Supervising Detention Officer position was
       added due to significant increases in data tracking and reporting requirements directly
       related to the ORR program. The Administrative Supervising Detention Officer is
       also responsible to oversee staff training and staff scheduling. Each Supervising
       Detention Officer will have 50% of their time charged to ORR for a total equivalent
       of 2.5 FTE.
    2. Detention Officer (20.35 FTE) –
       Detention Officers are responsible for the supervision, direction, housing and safety
       of all youth housed at the Juvenile Detention Facility. This staffing level exceeds
       staff ratio standards required by the ORR program, as Yolo County has determined
       additional staff are necessary to promote safety and facilitate programming for the
       high-needs UC population placed in Secure. The staffing ratios support day and swing
       shift ratios of 1:4, and adds a peak-hours rover position to assist with escorting UC to
       legal visits and activities throughout the facility, running programming, and
       processing visitors. There are 12 FTE Detention Officers 100% assigned to the ORR
       budget (plus transportation, as described below). Those additional Detention Officers
       required to run the facility at BSCC standard ratios will have 50% of their time
       charged to ORR. This item also includes the cost of a 1.0 FTE staff to provide UC
       transportation services to and from placement facilities, immigration and local court,
       biometrics and medical appointments. This totals the equivalent of 20.35 FTE.
       Added capacity has been added to this line item, the extra help line item, and the
       travel line item in order to enhance Yolo Secure’s ability to transport youth who are
       entering Secure placement as well.
    3. Juvenile Services Aide (1.5 FTE) –
       Juvenile Services Aides are responsible for operating the facility’s central control
       room. From this room, the movement of all youth, staff, and visitors in the facility is
       controlled and monitored. Juvenile Services Aides are trained in operating security
       monitoring, facility control operations, and radio dispatching. Yolo County utilizes
       three FTE Juvenile Services Aides as well as Extra Help staff (accounted for in the
       line item below) to operate central control around the clock. Each Juvenile Services
       Aide will have 50% of their time charged to ORR for a total equivalent of 1.5 FTE.

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